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10                           IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
11
12   In re:                                                             No. 18-14536

13   TIMOTHY DONALD EYMAN,                                              ORDER AUTHORIZING INTERIM
                                                                        DISBURSEMENT TO
14                   Debtor.                                            ADMINISTRATIVE CLAIMANTS AND
                                                                        PRIOR CHAPTER PROFESSIONALS
15
16            THIS MATTER came on regularly before this Court upon the Trustee’s Notice of Hearing and
17
     Motion for Order Authorizing Interim Disbursement to Administrative Claimants and Prior Chapter
18
     Professionals. The Court having considered the Notice and Motion, and the Court finding that notice of
19
20   the Motion has been duly and properly issued to all creditors and other parties in interest, that no party in

21   interest has objected or otherwise responded, that the proposed interim disbursement is reasonable and is
22   in the best interest of the Estate, now, therefore, it is hereby
23
              ORDERED that the Trustee is authorized to disburse the amount of $382,786.79, while she
24
     continues to administer the remaining assets of the Estate, as follows:
25
     ///
26
     ///
27   ORDER AUTHORIZING INTERIM                                                                       Virginia A. Burdette
                                                                                                        Chapter 7 Trustee
     DISBURSEMENT TO ADMINISTRATIVE                                                                      P.O. Box 16600
28                                                                                                     Seattle, WA 98116
     CLAIMANTS AND PRIOR CHAPTER                                                               Telephone: (206) 441-0203
     PROFESSIONALS- 1




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 1                            ADMINISTRATIVE AND PROFESSIONAL CLAIMS
 2    Claimant                                           Fees          Expenses          Net Pay
 3
      Virginia A. Burdette, Chapter 7 Trustee            $31,909.09    $32.62            $31,941.71
 4
      United States Trustee                              $249.58       N/A               $249.58
 5
      Thomas Linde, Schweet Linde & Coulson              $13,195.50    $25.50            $13,221.00
 6
      Richard N. Ginnis, CPA                             $1,141.00     $7.00             $1,148.00
 7
      Goodstein Law Group, PLLC                          $328,114.00 N/A                 $328,114.00
 8
      Vortman & Feinstein                                $8,112.50     N/A               $8,112.50
 9
      TOTAL PROPOSED PAYMENT TO ADMIN. AND PROFESSIONAL CLAIMS: $382,786.79
10
11
12
13                                              ///END OF ORDER///

14   Presented by:

15   /s/ Virginia A. Burdette
     Virginia A. Burdette, WSBA #17921
16   Chapter 7 Trustee
     P.O. Box 16600, Seattle, WA 98116
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     Telephone: (206) 441-0203
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27   ORDER AUTHORIZING INTERIM                                                                   Virginia A. Burdette
                                                                                                    Chapter 7 Trustee
     DISBURSEMENT TO ADMINISTRATIVE                                                                  P.O. Box 16600
28                                                                                                 Seattle, WA 98116
     CLAIMANTS AND PRIOR CHAPTER                                                           Telephone: (206) 441-0203
     PROFESSIONALS- 2




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